
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Stephen K. Gilley appeals the district court’s order affirming the bankruptcy court’s order finding that Gilley’s disgorgement debt was nondischargeable under 11 U.S.C. § 523(a)(19) (2012). We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. Gilley v. Sec. &amp; Exch. Comm’n, No. 1:13-cv-00916-WO; 12-11443; 12-02066 (M.D.N.C. June 3, 2014). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before this court and argument would not aid the decisional process.

AFFIRMED.

